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   10                           UNITED STATES DISTRICT COURT
   11                         CENTRAL DISTRICT OF CALIFORNIA
   12
   13 ROY PAYAN; PORTIA MASON;                Case No. 2:17-cv-01697-SVW(SKx)
      THE NATIONAL FEDERATION; OF             [Civil Rights]
   14 THE BLIND, INC.; and THE
      NATIONAL FEDERATION OF THE              DEFENDANT’S NOTICE OF
   15 BLIND OF CALIFORNIA, INC.,              SUBMISSION OF DEPOSITION
                                              TRANSCRIPT OF APRIL PAVLIK
   16                  Plaintiffs,            PER COURT’S IN CHAMBERS
                                              ORDER OF FEBRUARY 2, 2023,
   17            v.                           DOCUMENT NUMBER 481
   18 LOS ANGELES COMMUNITY
        COLLEGE DISTRICT, and DOES 1
   19 through 10, inclusive,
   20                  Defendants.
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        LA42-0000025                               DEFENDANT’S NOTICE OF SUBMISSION OF
        14449894.1                                DEPOSITION TRANSCRIPT OF APRIL PAVLIK
Case 2:17-cv-01697-SVW-SK Document 486 Filed 02/03/23 Page 2 of 4 Page ID #:11427




    1           Pursuant to the Court’s In Chamber’s Order (Doc #481), defendant Los
    2 Angeles Community College District (“Defendant”) hereby submits the deposition
    3 transcript of April Pavlik which is referenced in Defendant’s Response to the
    4 Court’s January 19, 2023 Order.
    5 DATED: February 3, 2023               HAIGHT BROWN & BONESTEEL LLP
    6
    7
    8
                                            By:
                                                  Richard E. Morton
    9                                             Bruce Cleeland
   10                                             Yvette Davis
                                                  Kristian Moriarty
   11                                             Attorneys for Defendant
   12                                             LOS ANGELES COMMUNITY
                                                  COLLEGE DISTRICT
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        LA42-0000025
                                                   2    DEFENDANT’S NOTICE OF SUBMISSION OF
        14449894.1                                     DEPOSITION TRANSCRIPT OF APRIL PAVLIK
Case 2:17-cv-01697-SVW-SK Document 486 Filed 02/03/23 Page 3 of 4 Page ID #:11428




    1                                  PROOF OF SERVICE
    2        Payan; Mason; The National Federation of the Blind, et al. v. LACCD, et al.
    3                        USDC Case No. 2:17-cv-01697-SVW-(SKx)
    4 STATE OF CALIFORNIA, COUNTY OF ORANGE
    5       At the time of service, I was over 18 years of age and not a party to this
      action. I am employed in the County of Orange, State of California. My business
    6 address is 2030 Main St, Suite 1525, Irvine, CA 92614.
    7        On February 3, 2023, I served true copies of the following document(s)
      described as DEFENDANT’S NOTICE OF SUBMISSION OF DEPOSITION
    8 TRANSCRIPT OF APRIL PAVLIK PER COURT’S IN CHAMBERS ORDER
      OF FEBRUARY 2, 2023, DOCUMENT NUMBER 481 on the interested parties
    9 in this action as follows:
   10                            SEE ATTACHED SERVICE LIST
   11        BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
      the document(s) with the Clerk of the Court by using the CM/ECF system.
   12 Participants in the case who are registered CM/ECF users will be served by the
      CM/ECF system. Participants in the case who are not registered CM/ECF users will
   13 be served by mail or by other means permitted by the court rules.
   14       I declare under penalty of perjury under the laws of the United States of
      America that the foregoing is true and correct and that I am employed in the office
   15 of a member of the bar of this Court at whose direction the service was made.
   16           Executed on February 3, 2023, at Irvine, California.
   17
   18
                                                    Cindy Mulder
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        LA42-0000025                                      DEFENDANT’S NOTICE OF SUBMISSION OF
        14449894.1                                       DEPOSITION TRANSCRIPT OF APRIL PAVLIK
Case 2:17-cv-01697-SVW-SK Document 486 Filed 02/03/23 Page 4 of 4 Page ID #:11429




    1                                    SERVICE LIST
    2        Payan; Mason; The National Federation of the Blind, et al. v. LACCD, et al.
    3                       USDC Case No. 2:17-cv-01697-SVW-(SKx)
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        LA42-0000025                                    DEFENDANT’S NOTICE OF SUBMISSION OF
        14449894.1                                     DEPOSITION TRANSCRIPT OF APRIL PAVLIK
